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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                       CR 20-27-GF-BMM

              Plaintiff,

    vs.                                         FINAL ORDER OF FORFEITURE

RUSSELL ROBERT MODDISON,

              Defendant.


         THIS MATTER comes before the Court on the United States’ Motion for

Final Order of Forfeiture. Having reviewed said motion, the Court finds:

         1.    The United States commenced this action pursuant to 21 U.S.C.

§ 853(a)(1) and (2), and Rule 32.2, Federal Rules of Criminal Procedure.

         2.    A Preliminary Order of Forfeiture was entered on August 19, 2020.

(Doc. 25).

         3.    All known interested parties were provided an opportunity to respond

and publication has been effected as required by 21 U.S.C. § 853(n)(1). (Docs. 30,

30-1).

         4.    It appears there is cause to issue a forfeiture order under 21 U.S.C.

§ 853(a)(1) and 2, and Rule 32.2, Federal Rules of Criminal Procedure.



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      IT IS ORDERED:

      THAT the Motion for Final Order of Forfeiture is GRANTED;

      THAT judgment of forfeiture of the following property shall enter in favor

of the United States pursuant to 21 U.S.C. § 853(a)(1) and 2, and Rule 32.2,

Federal Rules of Criminal Procedure, free from the claims of any other party:

       $11,575.00 in U.S. Currency.

      THAT the United States shall have full and legal title to the forfeited

property and may dispose of it in accordance with law.

      DATED this 9th day of November 2020.




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